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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                     Terre Haute Division


   ROGER TODD,                                  )
                                                )
                   Plaintiff,                   )
                                                )
           v.                                   )              Case No.        2:19-cv-85-JMS-DLP
                                                )
   OCWEN LOAN SERVICING, INC., and              )
   DEUTSCHE BANK NATIONAL TRUST CO., as )
   Trustee for NovaStar Mortgage Funding Trust, )
   Series 2007-1 ,                              )
                                                )
                 Defendants.                    )

                REQUEST FOR PRODUCTION OF DOCUMENTS TO OCWEN

          Plaintiff, Roger Todd (“Todd”), by counsel, requests that Defendant, Ocwen Loan

   Servicing, LLC (“Ocwen”), produce the following documents and tangible things within its or its

   attorney’s possession, custody or control, pursuant to Rule 34 of the Federal Rules of Trial

   Procedure. The documents and things are to be produced within thirty days at the offices of

   Clark Quinn Moses Scott & Grahn, LLP, 320 N. Meridian St., Suite 1100, Indianapolis, Indiana

   46204, while any product or components are to be produced at a mutually convenient time and

   place within thirty days.

                                            DEFINITIONS

   1. “Loan” means collectively the note and mortgage alleged in paragraph 3 of Plaintiff’s First

      Amended Complaint and Demand for Jury Trial.

   2. “Bankruptcy Case” means the bankruptcy case filed by Todd pursuant to Chapter 13 of the

      United States Bankruptcy Code on March 4, 2011, in the United States Bankruptcy Court for

      the Southern District of Indiana, Case No. 11-80256-JJG-13.




                                                   1
                                                                                   Exhibit K
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   3. “Deutsche Bank” means the Defendant, Deutsche Bank National Trust Co., as Trustee for

      NovaStar Mortgage Funding Trust, series 2007-1.

                               REQUESTS FOR PRODUCTION

   1. Please produce all Risk Convergence Reports created between January 1, 2014 and August

   31, 2016.

      RESPONSE:



                                             Respectfully submitted,

                                             /s/ Travis W. Cohron
                                             Travis W. Cohron, No. 29562-30
                                             CLARK, QUINN, MOSES, SCOTT & GRAHN, LLP
                                             320 N. Meridian Street, Suite 1100
                                             Indianapolis, IN 46204
                                             Telephone: (317) 637-1321
                                             Fax: (317) 687-2344
                                             tcohron@clarkquinnlaw.com




                                                2
                                                                             Exhibit K
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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing has been served by first

   class United States mail, postage prepaid, this 31st day of October, 2019 to:

   David M. Schultz
   Joseph D. Kern
   Hinshaw & Culbertson
   151 North Franklin Street Suite 2500
   Chicago, IL 60606
   dshultz@hinshawlaw.com
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   Telephone: (312) 704-3000
   Counsel for Defendants



                                                 /s/ Travis W. Cohron
                                                 Travis W. Cohron, No. 29562-30


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                                                    3
                                                                                   Exhibit K
